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 9                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
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     IN RE TESLA, INC. SECURITIES                  Case No. 3:18-cv-04865-EMC
11   LITIGATION
                                                   PLAINTIFF’S RESPONSE TO
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                                                   DEFENDANTS’ MOTION TO
13                                                 TRANSFER VENUE

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 1   I.     INTRODUCTION

 2          Defendants’ motion marks the second attempt in the last three weeks where Elon Musk

 3   has tried to postpone this trial. First, on December 22, 2022, in conjunction with an “emergency”

 4   discovery dispute, Defendants asked for a postponement which the Court promptly rejected. Now,

 5   on January 6, 2023, just hours after receiving the Court’s final proposed set of jury instructions

 6   and ten days before jury selection and opening statements, Defendants ask to transfer this case

 7   from San Francisco and postpone the trial for an indeterminate period in hopes of buying enough

 8   time to allow what they refer to as “biased local media coverage” to “dissipate.” Defendants’

 9   request has no merit. What they refer to as “biased” coverage is, in fact, factual reporting about

10   his management of Twitter, Inc., and has no bearing on the jury’s ability to render a fair verdict.

11   Importantly, as evidenced by the 200 or so completed jury questionnaires received yesterday

12   morning, none of the potential jurors for this trial work for Twitter and only a small number (2 or

13   3) even know someone who works for Twitter. Further, the “media coverage” cited by Defendants

14   does not relate to the false and misleading “funding secured” tweets at issue in this case.

15   Accordingly, Defendants fail to provide any evidence whatsoever that recent media coverage is

16   “so pervasive and inflammatory that the jurors cannot be believed when they assert that they can

17   be impartial.” United States v. Croft, 124 F.3d 1109, 1115 (9th Cir. 1997).

18          Section 1404 allows for the transfer of an action to any district in which the case “might

19   have been brought” when first commenced. 28 U.S.C. §1404(a). The Western District of Texas

20   is not an option. When Plaintiff commenced this action in 2018, Tesla’s headquarters were in

21   Palo Alto and Musk lived in the Bay Area. There was no connection at all to Texas. In fact, there

22   remained no connection to Texas until December 2021 when Musk and Tesla moved to Austin.

23   That connection does not support a transfer of the case, especially considering the significant

24   prejudice Plaintiff would incur as a result. For months now, Plaintiff has been readying his case

25   for trial pursuant to Ninth Circuit controlling law and this Court’s local rules, guidelines, and

26   specific evidentiary rulings. The Court, too, has expended substantial judicial resources to prepare

27   for trial. Unquestionably, the Court and its staff have spent numerous hours reviewing evidentiary

28   objections, exhibits, deposition designations, and grappling with complex motion in limine
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 1   arguments pertaining to Plaintiff’s damages theory. Transferring the case less than one week

 2   before trial would result in an extreme waste of resources.

 3          Transferring the case would also prejudice Plaintiff in numerous substantive ways.

 4   Plaintiff’s counsel has prepared for trial on the basis that several key non-party witnesses will be

 5   providing live testimony at trial. These witnesses, who include Tesla’s former Chief Financial

 6   Officer, investor relations personnel, and members of the go-private deal team, live in and around

 7   the Bay Area. They are expected to testify on key issues at trial, including but not limited to

 8   Musk’s knowing violations of the federal securities laws and the material falsity of the “funding

 9   secured” tweet. Plaintiff’s trial subpoenas will not be enforceable if the case is transferred out of

10   San Francisco, meaning that Plaintiff will have to reorganize his case, rework deposition

11   designations, and revise his overall presentation to the jury. The convenience Musk would enjoy

12   by having the trial in his current hometown of Austin does not outweigh the prejudice that would

13   ensue if the Court were to grant Defendants’ request.

14          With less than three Court days before the start of trial and no new information warranting

15   a delay, Plaintiff respectfully requests that Defendants’ motion be denied in its entirety with

16   prejudice so the parties can complete their final trial preparations without further distraction.

17   II.    RELEVANT FACTS

18          A.      Procedural Posture of the Case

19          Defendants filed their motion a mere eleven days before trial is scheduled to begin. Dkt.

20   No. 537. The parties have already had their final pretrial conference before the Court. Dkt. No.

21   499. Counsel for Plaintiff, most of whom are based on the east coast, have already traveled to San

22   Francisco for trial and, in fact, appeared in Court this morning for the “trial technology check.”

23   Plaintiff’s witnesses and experts have also traveled (or are in the process of traveling) to San

24   Francisco. Outside equipment vendors and specialists also commenced work in support of

25   Plaintiff’s trial preparation. Accordingly, Plaintiff’s counsel has already incurred substantial

26   expenses in preparing for the trial scheduled to begin in this District next week.

27          Moreover, Plaintiff prepared the case for trial in accordance with this Court’s specific

28   local rules and guidelines. The parties have agreed upon and filed trial protocols specific to the
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 1   time limits and rules of this Court. Dkt. No. 526. Plaintiff has categorized exhibits he anticipates

 2   introducing into evidence at trial according to this Court’s order. Dkt. No. 514. Plaintiff has

 3   prepared deposition designations and the accompanying video clips based on this Court’s

 4   protocols. Additionally, this Court has issued numerous orders guiding the parties as to admissible

 5   evidence, Plaintiff’s damages theory, and the elements of the claims required to be proven at trial.

 6   See, e.g., Dkt. No. 508. The Court has engaged with the parties substantively on the verdict form

 7   and on jury instructions, and the parties have submitted numerous revisions of these items in

 8   response. See, e.g., Dkt. Nos. 512, 520. In short, Plaintiff has prepared for trial in this Court and

 9   has expended significant time and resources to do so.

10          B.       Location of Witnesses

11          A substantial number of Plaintiff’s anticipated witnesses are located in California and will

12   be testifying live in Court about critical issues in the case. These witnesses are:

13                  Deepak Ahuja, Tesla’s Chief Financial Officer at the time of tweets at issue in this

14                   litigation, resides in California and is expected to testify, among other things,

15                   regarding his discussions with investors to the potential going private and his

16                   involvement with drafting the August 7, 2018 blog post.

17                  Dave Arnold, a current resident of California, is expected to testify, among other

18                   things, regarding his experience as Tesla’s Senior Director of Global

19                   Communications, and in particular, his conversations with various investors and

20                   news outlets following Musk’s tweet on August 7, 2018, his familiarity with the

21                   topics of public reporting regarding the August 7 tweet, and his involvement

22                   drafting the August 7 letter to Tesla employees and the August 13 blog post.

23                  Martin Viecha, currently located in the Bay Area, will testify regarding, among

24                   other things, his experience as Tesla’s Director of Investor Relations and his

25                   conversations with various analysts and investors following Musk’s tweets on

26                   August 7, 2018.

27                  Egon Durban of Silver Lake will testify regarding, among other things, his

28                   interactions with Musk and others regarding the proposal to take Tesla private at
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 1                     $420 per shares, the work Silver Lake performed in connection with the going

 2                     private, and Silver Lake’s presentation to the Tesla board on August 23.

 3                    Dan Dees of Goldman Sachs, is expected to testify, among other things, regarding

 4                     his interactions with Musk, the Tesla Board, Silver Lake and others concerning

 5                     the proposed take-private, and Goldman Sachs’ outreach to potential sources of

 6                     funding after Musk’s August 7 tweets.

 7            Plaintiff served trial subpoenas on these witnesses months ago in anticipation of

 8   examining them in Court during the trial and has been readying examination outlines ever since.

 9   See Trial Subpoenas dated July 26, 2022, Exhibit A.1

10            C.       The Western District of Texas Is Not an Appropriate Venue

11            This case has been pending in this Court for over four years. From the commencement of

12   this action in August 2018 to December 2021, Tesla was headquartered in Palo Alto, California,

13   without any connection whatsoever to the Western District of Texas. It was not until December

14   1, 2021, that Tesla moved its headquarters to Austin, Texas. See Tesla Form 8-K dated December

15   1, 2021, Exhibit B. Aside from the headquarters’ relocation, the only purported resident of Texas

16   is Musk himself. None of the actions at issue in this litigation took place in the Western District

17   of Texas, thus there are no facts of the case relating to that forum. Plaintiff filed in this District

18   because Tesla was headquartered here at the time of the case’s initiation, the actions giving rise

19   to the litigation occurred in this District, and as discussed above, numerous witnesses are located

20   in or around this District.

21   III.     LEGAL STANDARD

22            Pursuant to 28 U.S.C. § 1404(a), “a district court may transfer any civil action to any other

23   district or division where it might have been brought” for the convenience of the parties and

24   witnesses and in the interest of justice. 28 U.S.C. § 1404(a). The purpose of Section 1404 is “to

25   prevent the waste of time, energy, and money and to protect litigants, witnesses and the public

26   against unnecessary inconvenience and expense.” Van Dusen v. Barrack, 376 U.S. 612, 616

27   (1964) (internal quotations omitted). “The burden of showing that transfer is appropriate is on the

28   1
         Exhibits referenced herein are attached to the accompanying Declaration of Adam C. McCall.
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 1   moving party.” Barnes & Noble, Inc. v. LSI Corp., 823 F. Supp. 2d 980, 994 (N.D. Cal. 2011)

 2   (Chen, J.). Section 1404(a) “requires two findings—that the district court is one where the action

 3   might have been brought and that the convenience of parties and witnesses in the interest of justice

 4   favors transfer.” Ctr. for Biological Diversity v. McCarthy, No. 14-CV-05138-WHO, 2015 WL

 5   1535594, at *2 (N.D. Cal. Apr. 6, 2015). Defendants fail to satisfy either of these findings.

 6   IV.     ARGUMENT

 7           A.      Defendants Cannot Transfer the Action to the Western District of Texas

 8                   Because Venue Did Not Exist There When the Case Was First Brought.

 9           Section 1404 allows a case to be transferred to any district “where it might have been

10   brought” when the action was first commenced. 28 U.S.C. §1404(a). The statute cannot be applied

11   retroactively, meaning that Section 1404 does not allow for transfer to forums that a party may

12   presently find convenient or advantageous. See Hoffman v. Blaski, 363 U.S. 335, 342-43 (1960)

13   (“We do not think the § 1404(a) phrase ‘where it might have been brought’ can be interpreted to

14   mean . . . ‘where it may now be rebrought, with defendants’ consent.’”).2 “An additional

15   protection [for plaintiffs] is that the determination of transferability must still be made as of the

16   time of filing of the action in the transferor district.” A. J. Indus., Inc. v. U.S. Dist. Ct. for Cent.

17   Dist. Of California, 503 F.2d 384, 387 (9th Cir. 1974).

18           Without question, this action could not have been brought in the Western District of Texas

19   when first commenced in August 2018. None of the underlying acts or transactions constituting

20   the federal securities laws violations occurred in that district, which is required to lay venue. See

21   Sec. Inv’r Prot. Corp. v. Vigman, 764 F.2d 1309, 1316 (9th Cir. 1985). It was not until December

22   1, 2021, that Tesla moved its headquarters to Austin, Texas. Accordingly, the Western District of

23   Texas was not an appropriate venue at the outset of the case and, therefore, the action could not

24   have been brought in that District when commenced. For that reason and that reason alone,

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     2
26    Hoffman remains binding law and prohibits transfer to districts where cases could not have been
     brought when initially commenced, except when the parties agree otherwise as allowed by statute.
27   Therefore, “[b]ecause [the defendant’s] consent plays no role in this particular type of transfer
     decision, the court believes the logic of Hoffman continues to apply.” Schubert v. OSRAM AG,
28   No. CIV.A. 12-923-GMS, 2013 WL 587890, at *3 (D. Del. Feb. 14, 2013) (quotations omitted).
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 1   Defendants’ motion to transfer under Section 1404 should be denied. See Bozic v. United States

 2   Dist. Court, 888 F.3d 1048, 1054 (9th Cir. 2018) (holding that a “district court committed clear

 3   legal error” when it transferred an action under § 1404 to a district where it could not have

 4   originally been brought); Lax v. Toyota Motor Corp., 65 F. Supp. 3d 772, 776 (N.D. Cal. 2014)

 5   (“An action may not be transferred to a district where venue would have been improper if it

 6   originally had been filed there.” (emphasis added)); Healy v. Wells Fargo Bank, N.A., No. 20-

 7   CV-01838-H-AHG, 2020 WL 7074939, at *2 (S.D. Cal. Dec. 3, 2020) (“A district court is one in

 8   which an action could have been brought originally if (1) it has subject matter jurisdiction; (2)

 9   defendants would have been subject to personal jurisdiction; and (3) venue would have been

10   proper” (emphasis added)).

11          B.      The Media Coverage Cited by Defendants Is Not Prejudicial and Falls

12                  Woefully Short of Satisfying the Heavy Burden Necessary for a Transfer.

13          Defendants have the burden to show that “that the community where the trial was held

14   was saturated with prejudicial and inflammatory media publicity about the crime.” Daniels v.

15   Woodford, 428 F.3d 1181, 1211 (9th Cir. 2005) (emphasis added); Harris v. Pulley, 885 F.2d

16   1354, 1361 (9th Cir. 1989) (same). The prospective jurors must be subject “to a barrage of

17   inflammatory publicity immediately prior to trial amounting to a huge wave of public passion,

18   that would warrant a presumption that the jurors selected for the trial were prejudiced.” United

19   States v. Dischner, 974 F.2d 1502, 1524 (9th Cir. 1992) (internal quotations omitted). The adverse

20   publicity must be “so pervasive and inflammatory that the jurors cannot be believed when they

21   assert that they can be impartial.” Croft, 124 F.3d at 1115. Defendants do not come close to

22   showing that this is a “rare” or “extreme” circumstance warranting a change in venue. Id.

23          Defendants fall short of meeting this high burden and struggle to even link the news

24   coverage of Musk to the issues in this case. They argue that this case should be transferred in the

25   “interest of justice” because of Musk’s recent media attention. Mot. at 7. However, out of the

26   hundreds of articles reviewed by Defendants, only one even references Musk’s “funding secured”

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 1   tweet. See Lifrak Decl., Ex. U.3 This supports the conclusion that there has not been

 2   “prejudicial and inflammatory media publicity about the crime” so severe that the jury pool in

 3   the Northern District of California cannot be trusted. Harris, 885 F.2d at 1361. The relevant case

 4   law clearly supports Plaintiff’s position. See Dischner, 974 F.2d 1524 (177 news stories on

 5   Anchorage television stations concerning the events of the case “was not of the kind where a court

 6   could not believe the answers of the jurors and would be compelled to find bias or preformed

 7   opinion as a matter of law.”); Harris, 885 F.2d at 1361 (court reviewed 136 articles between a

 8   five month period leading up to jury selection and found no prejudice); Croft, 24 F.3d at 1115 (no

 9   prejudice where “90% of Oregonians knew about Rajneeshpuram, over 60% had heard of their

10   prosecution, and over 40% believed that the indicted conspirators were guilty of the conspiracy”

11   to commit murder); c.f. Rideau v. Louisiana, 373 U.S. 723, 726-27 (1963) (prejudice where

12   defendant confessed to robbing a bank, kidnapping three of the bank’s employees, and killing

13   one of them, where the confession was taped and broadcast three times by a local television

14   station to a jury population of 150,000, and the broadcast in “a very real sense was [defendants’]

15   trial”).

16              Instead of relating to the “funding secured” tweet, the articles largely consist of what

17   Defendants describe as “negative” press concerning Musk’s management of Twitter. Mot. at 4.

18   Defendants make no effort at all to describe what constitutes “negative” press or why otherwise

19   “factual” reporting should somehow be perceived as “prejudicial.” Indeed, Defendants do not

20   claim any of these articles are false and it is unclear how factual reporting about Musk can result

21   in prejudice. See Dischner, 974 F.2d 1524 (collecting cases that find there is no prejudice when

22   news reporting is factual in nature); Williams v. Vasquez, 817 F. Supp. 1443, 1474 (E.D. Cal.

23   1993) (no prejudice where “the articles were factual in nature”). Reports on the number of Twitter

24   layoffs does not translate to evidence of bias in the jury pool, especially when none of the potential

25   jurors for this trial work for Twitter (according to the completed juror questionnaires). In fact, out

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     3
      The article’s reference to the tweet is limited to: “That same year, Musk gave up his chairman
27   position at Tesla and paid $20 million under a settlement with the Securities and Exchange
     Commission after tweeting that he had “funding secured” to take the company private when no
28   such deal was in place.”
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 1   of the approximate 200 potential jurors for trial, only a small number (2 or 3) even know someone

 2   who works for Twitter. Thus, the potential for bias arising out of Musk’s management of Twitter

 3   is non-existent.

 4             Defendants’ argument comparing Musk’s media coverage to Jeff Bezos’ is similarly

 5   misguided. They provide no authority for inferring that Musk cannot receive a fair trial simply

 6   because he receives more media attention that Jeff Bezos. For better or worse, Musk is a celebrity

 7   who garners attention from the media around the globe. His footprint on Twitter alone is partially

 8   to blame for that. If “negative” attention was all that was required to disqualify a jury pool, Musk

 9   would effectively be untriable before a jury given his knack for attracting “negative” coverage.

10   This would include the jury pool in Western District of Texas where Musk seemingly attracts a

11   similar level of “negative” attention, according to a cursory search of headlines in Musk’s

12   hometown paper. See, e.g., Top Embarrassing Moments of Our Worst Residents, THE AUSTIN

13   CHRONICLE (Dec. 16, 2022) (listing Elon Musk as #1 “worst resident” of Austin, Texas, because

14   “Boring Co. has delivered on pretty much nothing despite the many projects it has agreed upon”);

15   Tesla Gigafactory to be Investigated for Labor Standards Violations, THE AUSTIN CHRONICLE

16   (Nov. 16, 2022) (reporting on alleged DOL violations at Tesla Gigafactory in Austin, Texas).4

17             “Merely unfavorable publicity, ‘in itself, however, is insufficient to compel a finding that

18   the defendants were denied an impartial jury.’” Oliver v. City & Cnty. of San Francisco, No. C

19   07-2460 JL, 2009 WL 10736493, at *2 (N.D. Cal. Mar. 25, 2009) (quoting Los Angeles Memorial

20   Coliseum Comm’n v. Nat’l Football League, 726 F.2d 1381, 1400 (9th Cir. 1984)). There is

21   simply no proof that any of the articles cited by Defendants, individually or collectively, are “so

22   pervasive and inflammatory that the jurors cannot be believed when they assert that they can be

23   impartial.” Croft, 124 F.3d at 1115. This is especially true considering the fact that the Northern

24   District of California has one of the largest and most diverse populations in the county, with the

25   population consisting of well over 5 million people within the San Francisco courthouse

26   jurisdiction (Sonoma 487,011; Napa 138,481; Marin 265,294; Contra Costa 1,200,997; San

27   Francisco 894,584; Alameda 1,733,977; and San Mateo 778,239). The idea that the media

28   4
         Copies of these articles are attached to the McCall Declaration as Exhibits C and D.
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 1   coverage cited by Defendants is “so pervasive and inflammatory” to render the entire juror pool

 2   impartial and biased is absurd. See Croft, 124 F.3d at 1115. Given the fact that the media coverage

 3   is virtually silent about this trial, Musk’s state of mind, or the materiality of Musk’s August 7,

 4   2018 tweets, “the publicity in this case [is] not of the type that proclaim[] the defendants’ guilt in

 5   advance of the trial and preclude[] the jurors from independently evaluating the evidence.”

 6   Dischner, 974 F.2d at 1524. In sum, Defendants cannot show that the jury pool is biased.5

 7          C.      The Convenience of the Parties Weighs in Favor of the Northern District of

 8                  California.

 9          In deciding whether to transfer a case, the Ninth Circuit considers a number of factors,

10   including: “(1) plaintiff’s choice of forum, (2) convenience of the parties, (3) convenience of the

11   witnesses, (4) ease of access to the evidence, (5) familiarity of each forum with the applicable

12   law, (6) feasibility of consolidation of other claims, (7) any local interest in the controversy, and

13   (8) the relative court congestion and time of trial in each forum.” Barnes & Noble, 823 F. Supp.

14   2d at 993; Jones v. GNC Franchising, Inc., 211 F.3d 495, 498-99 (9th Cir. 2000). “The primary

15   factors to be considered are convenience of witnesses and parties and concerns for judicial

16   economy (including duplicative effort, waste of time and money).” Cochran v. NYP Holdings,

17   Inc., 58 F. Supp. 2d 1113, 1119 (C.D. Cal. 1998), aff’d, 210 F.3d 1036 (9th Cir. 2000).

18          The convenience of the parties and witnesses weighs heavily in favor of the Northern

19   District of California. Plaintiff will be calling at least five residents of the Bay Area or nearby

20   locales to testify at trial. These witnesses are: Deepak Ahuja, Tesla’s Chief Financial Officer at

21   the time of tweets; Dave Arnold, Tesla’s Senior Director of Global Communications; Martin

22   Viecha, Tesla’s Director of Investor Relations; Egon Durban, co-managing partner of Silver Lake

23   Partners; and Dan Dees, a managing director of Goldman Sachs. As described above (see Section

24   II.B., supra), these witnesses have highly relevant testimony bearing on critical issues at trial,

25   including but not limited to what Musk knew about his ability to secure funding and investor

26

27   5
       Notwithstanding the size and diversity of San Francisco’s jury pool, Plaintiff is willing to agree
     to a non-jury trial in this Court to resolve Defendants’ concerns and allow for an orderly and more
28   efficient proceeding on the current schedule.
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 1   support both prior to and after the tweets in question. Plaintiff has readied his case under the

 2   assumption that these witnesses would be appearing at trial and providing live testimony.6

 3   Transferring the case out of this District would jeopardize the in-person attendance of these

 4   witnesses and force Plaintiff to rework his trial strategy, presentation of the case, and deposition

 5   designation preparations. The convenience of these witnesses is entitled to “primary

 6   consideration.” See Hawkins v. Gerber Prod. Co., 924 F. Supp. 2d 1208, 1215 (S.D. Cal. 2013)

 7   (“[i]n balancing the convenience of the witnesses, primary consideration is given to third part[ies],

 8   as opposed to employee witnesses.”). By contrast, Defendants have failed to identify any non-

 9   party witness located in Texas to support their motion to transfer venue. That Musk and Tesla

10   now reside there is not enough to outweigh the prejudice to Plaintiff in transferring the case. See

11   Barnes & Noble, Inc., 823 F. Supp. 2d at 994 (“a defendant must make a strong showing of

12   inconvenience.”).

13          As to the other factors considered by the courts in determining whether transfer is

14   appropriate, there is no dispute these favor the Northern District of California. Plaintiff has

15   invested a substantial amount of money and time preparing for trial in the Northern District of

16   California, including technology, printing, flights, hotels for both counsel and witnesses, in

17   addition to compliance with this Court’s and the Northern District of California rules. It cannot

18   be disputed that a transfer at this point would result in additional, duplicative costs. Moreover,

19   transferring the case would lead to substantial delay. “This Court, having issued numerous orders,

20   including a summary judgment, and handled several pretrial matters, is already familiar with the

21   issues involved the case, whereas a transfer would necessitate the needless expenditure of

22   additional judicial resources and time for the transferee court to familiarize itself with the case.”

23   Oliver, 2009 WL 10736493, at *3; see Steshenko v. McKay, 735 F. App’x 298, 301 (9th Cir.

24   2018) (no abuse of discretion where “transfer would have substantially delay[ed] the trial.”). Here,

25   “Defendants have had ample time in this case to request a transfer of venue and failed to raise the

26

27   6
      On January 6, 2023, Defendants announced that Dan Dees would be appearing live, despite prior
     agreements to present his testimony by deposition. With the exception of Mr. Dees, all other
28   witnesses were always understood to be appearing at trial in person.
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 1   issue until the eve of trial. Granting Defendants’ request to transfer would unnecessarily delay

 2   proceedings and hinder the ‘interests of justice’ at play in this case, as well as inconvenience the

 3   parties and witnesses who have already made arrangements to appear in this Court for the start of

 4   trial . . . .” R. Prasad Indus. v. Flat Irons Env’t Sols. Corp., No. CV-12-08261-PCT-JAT, 2017

 5   WL 4409463, at *3 (D. Ariz. Oct. 4, 2017). For these reasons, Defendants’ motion should be

 6   denied.

 7             D.     The Court Should Deny Defendants’ Request for an Adjournment of Trial.

 8             This is not the first time Defendants have sought to delay the trial. See Dkt. No. 518 at

 9   4:1-2 (requesting that “the trial date should be moved”). The Court summarily denied this request.

10   Dkt. No. 519 at 1:21-22 (“[t]he trial date of January 17, 2023 will not be moved.”). Defendants

11   have provided nothing of substance to warrant a different result now. Despite having concerns

12   over media coverage dating back to the of fall 2021, Defendants waited until now (after receiving

13   the Court’s proposed jury instructions and just days before voir dire) to seek an adjournment for

14   some undefined period of time in hopes of Musk’s public image having time to improve.

15   Defendants’ request should be denied.

16             Legally, Defendants’ request for a “continuance” is meritless. In making such a

17   determination four factors are considered: (1) the diligence of the moving party; (2) if the need

18   for the continuance can be met by a continuance; (3) the extent to which a continuance would

19   inconvenience the court and other parties; and (4) the extent to which the moving party might

20   suffer harm if the continuance is denied. United States v. Flynt, 756 F.2d 1352, 1358 (9th Cir.

21   1985). Defendants have not been diligent in raising this argument. They failed to make this

22   argument at either of the pretrial conferences on October 25, 2022, or January 4, 2023. The

23   foundation of their purported bias claim, Tesla moving its headquarters from California to Texas,

24   was announced over a year ago and a close examination of the specific articles put forth by the

25   Defendants demonstrate that this supposed “critical mass of negative press” was from the first

26   week in November 2022.

27             Second, Defendants cannot demonstrate that their alleged need for the continuance can be

28   met by a continuance. As discussed above, because Defendants fail to demonstrate that media
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 1   coverage of Musk is prejudicial, a continuance will not meet their purported need. Nor can they

 2   guarantee that additional media coverage surrounding Musk’s future actions would ameliorate

 3   the issues they claim interfere with his ability to receive a fair trial. On the other hand, Plaintiff

 4   has put forth evidence that a continuance would not only be inconvenient, but seriously

 5   prejudicial.

 6          The third factor heavily supports denying a continuance. Plaintiff’s counsel has incurred

 7   substantial expenses in preparing for trial. Further, Plaintiff’s attorneys have already traveled to

 8   San Francisco and third-party vendors have already provided various services to ready the case

 9   for trial. A continuance would be prejudicial to plaintiff because it would result in additional

10   expense and delay. See SiteLock LLC v. GoDaddy.com LLC, 2022 WL 7426426, *3 (D. Ariz.

11   Sept. 2, 2022) (citing Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992)

12   (denying a continuance where good-cause was not shown in light of the “existence or degree of

13   prejudice to the party opposing the modification”).

14          Furthermore, the Court has “invested substantial resources in preparing for trial . . . .”

15   Johnson v. Bay Area Rapid Transit Dist., No. C-09-0901 EMC, 2014 WL 2568458, at *3 (N.D.

16   Cal. June 6, 2014), aff’d sub nom. Grant v. Bay Area Rapid Transit Dist., 650 F. App’x 356 (9th

17   Cir. 2016) (Chen, J.) (emphasis in original) (denying motion for a continuance of trial when the

18   issues cited existed prior to the final pre-trial conference). This Court has issued numerous orders

19   guiding the parties as to admissible evidence, Plaintiff’s damages theory, and the elements of the

20   claims required to be proven at trial. See, e.g., Dkt. No. 508. The Court has engaged with the

21   parties substantively on the verdict form and on jury instructions, and the parties have submitted

22   numerous revisions of these items addressing the colloquy. See, e.g., Dkt. Nos. 512, 520.

23          The first three factors greatly outweigh the extent to which Defendants might suffer harm

24   if the continuance is denied. Again, apart from conclusory assertions of bias, Defendants have

25   put forth no evidence that the jury will be prejudiced by Musk’s media coverage. Defendants also

26   cite no authority that favors the extraordinary relief they are seeking. The single case they refer

27   to, Trendsettah USA, Inc. v. Swisher Int’l, Inc., 2020 WL 1224288 (C.D. Cal. Jan. 21, 2020), does

28   not support delaying trial. Trendsettah involved a motion to amend the final pretrial conference
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 1   order to allow the Defendant to raise additional affirmative defenses of illegality and fraudulent

 2   inducement considering information about the plaintiff’s conduct that came to light after the Court

 3   entered its pretrial conference order. 2020 WL 1224288, *8. Defendants’ proposal is also contrary

 4   to Congress’s mandate to “‘ensure just, speedy, and inexpensive resolutions of civil disputes,’ 28

 5   U.S.C. § 471, by ensuring trial of this matter as close to three years of the date of filing as

 6   possible.’” SiteLock, 2022 WL 7426426, *3 (quoting Harner v. USAA General Indemnity Co.,

 7   2022 WL 1138145, *2 (S.D. Cal. 2022). This case has been pending for over four years and is

 8   ready for trial. Accordingly, Defendants’ request for a continuance should be denied with

 9   prejudice.

10   V.     CONCLUSION

11          For the foregoing reasons, Defendants’ Motion to Transfer should be denied in its entirety

12   with prejudice.

13   Dated: January 11, 2023                       Respectfully submitted,

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                                                   LEVI & KORSINSKY, LLP
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